Citation Nr: 1413831	
Decision Date: 03/31/14    Archive Date: 04/10/14

DOCKET NO.  09-20 504	)	DATE
	)

On appeal from the
Department of Veterans Affairs Regional Office in St. Petersburg, Florida


THE ISSUE

Entitlement to service connection for bilateral hearing loss.


REPRESENTATION

Veteran represented by:	Disabled American Veterans


WITNESS AT HEARING ON APPEAL

Veteran and his spouse


ATTORNEY FOR THE BOARD

Zi-Heng Zhu, General Attorney 
INTRODUCTION

The Veteran served on active duty from September 1943 to August 1946.

This matter was originally before the Board of Veterans' Appeals (Board) on appeal from a July 2008 decision of the St. Petersburg, Florida Department of Veterans Affairs (VA) Regional Office (RO).  In October 2010, the Veteran appeared at a hearing before a Veterans Law Judge (VLJ).  In September 2011, the Board issued a decision that denied the claim of entitlement to service connection for bilateral hearing loss.


ORDER TO VACATE

The Board may vacate an appellate decision at any time upon request of the appellant or his or her representative, or on the Board's own motion, when an appellant has been denied due process of law.  38 U.S.C.A. § 7104(a) (West 2002); 38 C.F.R. § 20.904 (2013).    

In September 2013, pursuant to a settlement agreement in the case of National Org. of Veterans' Advocates, Inc. v. Secretary of Veterans Affairs, 725 F.3d 1312 (Fed. Cir. 2013), the Board sent the Veteran a letter notifying him of an opportunity to receive a new decision from the Board that would correct any potential due process error relating to the duties of the VLJ that conducted the October 2010 hearing.  See Bryant v. Shinseki, 23 Vet. App. 488 (2010) (holding that the requirements of 38 C.F.R. § 3.103(c)(2) apply to a hearing before the Board and that a VLJ has a duty to explain fully the issues and to suggest the submission of evidence that may have been overlooked).  In September 2013, the Veteran responded that he wished to have the prior decision vacated and a new one issued in its place.





Accordingly, the September 2011 Board decision is vacated.  




	                        ____________________________________________
	D. C. SPICKLER
	Veterans Law Judge, Board of Veterans' Appeals


